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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, NY 10007


                                                      April 14, 2020

BY ECF
Honorable Paul A. Engelmayer
United States District Judge
40 Foley Square
New York, NY 10007

Re: Reclaim the Records, et al. v. U.S. Department of Veterans Affairs, 18 Civ. 8449 (PAE)

Dear Judge Engelmayer:

        This Office represents the United States Department of Veterans Affairs (the “VA”)
in this Freedom of Information Act (“FOIA”) case. We write pursuant to this Court’s
Opinion and Order, Dkt. No. 39, which instructed the VA “to file a letter
on ECF explaining the nature of the data in the ‘cause of death’ field” in the VA database
known as the Beneficiary Identification Records Locator Subsystem (“BIRLS”) Death File,
id. at 23.

       The VA has informed this Office that the “cause of death” field for a given veteran in
the BIRLS Death File is populated with one of the four following values: “unknown,”
“natural,” “combat,” or “other.” We also respectfully inform the Court that, upon further
consideration, VA will release to Plaintiffs the data in this field for the 5,017,533 records
previously released to Plaintiffs (for which the data in the “cause of death” field was
withheld). VA is prepared to release this specific data to Plaintiffs on or before April 24,
2020. Plaintiffs do not object to this proposed production due date.

         With respect to the data in this field for the balance of the BIRLS Death File at issue
in this case (i.e., the portions of the database withheld in full from Plaintiffs), the VA
respectfully submits that, for the reasons described in its motion papers concerning the
balance of the BIRLS Death File, this data was properly withheld under Exemption 6. The
VA recognizes, however, that this Court has ordered the production of the remainder of the
BIRLS Death File and stated that the four values described above are “cursory and no more
revealing than the other data regarding deceased veterans already released to Reclaim.” Dkt.
No. 39 at 23. Thus, if the Court orders the production of the data in this specific field for the
balance of the BIRLS Death File, the VA respectfully requests that the Court order an April
1, 2022, production date for such data “after remov[al] of data from the BIRLS Death File
relating to living persons,” Dkt. No. 39 at 25—the same date on which this Court has ordered
the production of the remainder of the BIRLS Death File after removing such data, see id.
Counsel for Plaintiffs has informed the undersigned that Plaintiffs will not object to such a
production date for this subcategory of data.
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       We thank the Court for its consideration of this submission.

                                                     Respectfully,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney

                                             By:     /s/ Charles S. Jacob
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cc: Counsel of record (via ECF)



   The Court thanks the Government for this update and is pleased to learn that the VA
   has agreed to release the data in the “cause of death” field for those records already
   released to plaintiffs. The Government is directed to disclose the “cause of death” data
   for the remaining records on the same timeline as the other information that the Court
   ordered disclosed in its March 24, 2020 order, i.e., by April 1, 2022. The Government is
   further directed to update the Court as records are released to Reclaim. In the interim,
   this matter is hereby stayed. SO ORDERED.


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               __________________________________
                     PAUL A. ENGELMAYER           4/14/2020
                     United States District Judge




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